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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA

            v.                                        19-CR-227
                                                      23-CR-37
PETER GERACE, JR.,

                    Defendant.
_____________________________________


                MEMORANDUM OF LAW IN SUPPORT OF
         UNITED STATES’ MOTION FOR FORFEITURE OF PROPERTY




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(Of Counsel)
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        B.       The Court should determine that 999 Aero Drive is subject to forfeiture
                 and enter a preliminary order of forfeiture directing the forfeiture of 999
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                           The Court should find that the requisite nexus exists between 999 Aero
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                                 PRELIMINARY STATEMENT

        The United States of America, by and through its attorney, Michael DiGiacomo,

United States Attorney for the Western District of New York, Elizabeth M. Palma, Assistant

United States Attorney, of counsel, moves for a Preliminary Order of Forfeiture pursuant to

Rule 32.2(b) of the Federal Rules of Criminal Procedure, Title 18, United States Code, Section

1594(d)(1), and Title 21, United States Code, Section 853(a)(2), forfeiting the following

property:

              The premises, buildings, appurtenances, improvements, fixtures,
              and real property and fixtures located at 999 Aero Drive,
              Cheektowaga, New York, and more fully described in a deed
              filed and recorded in Erie County Clerk’s Office, on June 1, 2009
              in Book 11162 of Deeds at Page 6131 (hereinafter referred to as
              “999 Aero Drive”).


                                  PROCEDURAL HISTORY

        1.    On February 25, 2021, a federal grand jury sitting in the Western District of

New York returned a Second Superseding Indictment against the Defendant that charged him

with violations of Conspiracy to Defraud the United States, Paying a Bribe to a Public

Official, Maintaining a Drug-Involved Premises, Conspiracy to Distribute Controlled

Substances and Maintain a Drug-Involved Premises, and Conspiracy to Commit Sex

Trafficking. See Second Superseding Indictment, ECF 89.1




1
 On March 23, 2023, a federal grand jury sitting in the Western District of New York returned
an Indictment, filed under criminal docket number 23-CR-37, charging the Defendant with
three counts of Tampering with a Witness and one count of Distribution of Cocaine. On April
28, 2023, the Court granted the government’s motion to consolidate for trial the Indictment
in 23-CR-37 and the Second Superseding Indictment in 19-CR-227.



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        2.    The Second Superseding Indictment included a section titled “Third Forfeiture

Allegation” that notified the Defendant that upon his conviction of Title 21, United States

Code, Section 856(a)(1) (Maintaining a Drug-Involved Premises) and/or Title 21, United

States Code, Section 846 (Conspiracy to Distribute Controlled Substances and Maintain

Drug-Involved Premises) (collectively, hereinafter referred to as the “Drug Offenses”), the

United States would seek to forfeit any proceeds or facilitating property of such offenses,

including 999 Aero Drive, pursuant to Title 21, United States Code, Sections 853(a)(1),

853(a)(2) and 853(p). Id. at p.42–43. Additionally, the section titled “Fourth Forfeiture

Allegation” notified the Defendant that upon his conviction of Title 18, United States Code,

Section 1594(c) (Conspiracy to Commit Sex Trafficking) (hereinafter referred to as the “Sex

Trafficking Offense”), the United States would seek to forfeit proceeds and facilitating

property of such offense, including 999 Aero Drive, pursuant to Title 18, United States Code,

Sections 1594(d)(1) and 1594(d)(2), and Title 21, United States Code, Section 853(p). Id. at

44–45.2


        3.    On or about December 27, 2024, a jury returned a verdict finding the Defendant

guilty of Count 3: Title 21, United States Code, Section 856(a)(1) (Maintaining a Drug-

Involved Premises); Count 4: Title 21, United States Code, Section 846 (Conspiracy to

Distribute Controlled Substances and Maintain Drug-Involved Premises), and Count 5: Title

18, United States Code, Section 1594(c) (Conspiracy to Commit Sex Trafficking), as well as

Count 1: Title 18, United States Code, Section 371, (Conspiracy to Defraud the United States



2
 The Third Forfeiture Allegation and the Fourth Forfeiture Allegation allege that 5145 Lexor
Lane, Clarence, New York is property subject to forfeiture. The government elected not to
pursue forfeiture of this property.



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and Commit Bribery); Count 2: Title 18, United States Code, Sections 201(b)(1)(A) and

(b)(1)(C) (Paying a Bribe to a Public Official); Count 6: Title 18, United States Code, Section

1512(b)(1) and (2) (Witness Tampering); Count 7: Title 18, United States Code, Section

1512(b)(2)(A) and (2) (Witness Tampering); and Count 9: Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(C) (Possession with Intent to Distribute and Distribution of

Cocaine). See Jury Verdict, ECF 1426. Prior to trial, neither the government nor the Defendant

requested the jury be retained to determine the forfeiture of 999 Aero Drive pursuant to Fed.

R. Crim. P. 32.2(b)(5)(A). See Proposed Jury Instructions by USA, ECF 1243; Final Pretrial

Status Conf., 93:22–24, October 23, 2024.


Testimony Presented at Trial


       4.     Witness testimonies presented at trial, in summary, indicated that from 2006

through December 2019, the Defendant knowingly maintained the premises known as

Pharaoh’s Gentlemen’s Club (“Pharaoh’s”), located at 999 Aero Drive, as a drug-involved

premises where the Defendant and others used and distributed controlled substances.

Testimonies also indicated that from 2009 through February 2019, the Defendant and others

conspired to distribute controlled substances at 999 Aero Drive and to maintain 999 Aero

Drive as a drug-involved premises. 999 Aero Drive was also where the Defendant coerced

Pharaoh’s dancers to engage in commercial sex acts inside 999 Aero Drive, in furtherance of

the conspiracy to commit sex trafficking.


       5.     Specifically, the testimonies of Pharaoh’s patrons, such as Jeff Anzalone, John

McDonald, and Kevin Myszka, and former Pharaoh’s dancers and employees, described




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relevant conduct that occurred inside 999 Aero Drive during the time period of the convicted

offenses.


       6.      Jeff Anzalone testified that from approximately 2009 to 2018, he went to

Pharaoh’s over 100 times and used cocaine every time he was there, including in the

downstairs office, upstairs office, at the bar, and the tables near the stage. Trial Tr. Anzalone,

11:11–22; 12:5–19, December 9, 2024. Jeff Anzalone also testified that he was provided

cocaine at Pharaoh’s from an employee known as “Charm” (Jessica) and another employee

known as “Cherry.” Id. at 13:24–14:5; 15:16–16:6; 16:22–17:17. Similarly, John McDonald

testified that from 2015 to 2019, he had openly used cocaine inside Pharaoh’s approximately

100 to 200 times. Trial Tr. McDonald, 9:12–10:11, December 11, 2024. Additionally, Kevin

Myszka described that one night at Pharaoh’s, in or around 2015 through 2017, he asked the

Defendant if he could get any cocaine “in here.” Trial Tr. Myszka, 14:9–15:18; 18:15–19:9,

November 20, 2024. Kevin Myszka then testified that someone who looked like a dancer

approached him and gave him a gram of cocaine, which he understood to be from the

Defendant, and used it in the Pharaoh’s bathroom. Id. at 19:10–21:9.


       7.      With respect to the testimonies of former Pharaoh’s dancers and employees,

most of them testified that they used drugs, observed other dancers use drugs, got drugs from

the Defendant and/or could get drugs from the Defendant and others at 999 Aero Drive:


       •       J.Z. worked as a dancer and bartender at Pharaoh’s from 2005 to 2008, and
               dated the Defendant’s brother, Anthony Gerace, during the same time. Trial
               Tr. J.Z., 4:2–5:14; 6:2–6, November 12, 2024. J.Z. testified that one time, she
               went to the upstairs area and saw the Defendant and other dancers use cocaine.
               Id. at 9:13–10:14. She further testified that the Defendant then provided her
               cocaine. Id. at 10:15–10:20; 39:11–20.



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    •     G.R. danced at Pharaoh’s from 2006 to 2009. Trial Tr. G.R., 9:17–22; 71:20–
          25, November 13, 2024. G.R. testified that she, the Defendant, and others,
          including K.L., used cocaine that the Defendant usually provided in the
          upstairs area. Id. at 30:13–32:33. She also testified that she used cocaine and
          opiates in the Pharoah’s bathroom. Id. at 33:11–21. Additionally, G.R. testified
          that other dancers also went into the bathroom at Pharaoh’s to use drugs. Id. at
          33:22–24.

    •     A.P. intermittently worked at Pharaoh’s between 2006 and 2013 as a dancer,
          bartender, waitress and shot girl. Trial Tr. A.P., 4:9–5:7, November 7, 2024.
          A.P. testified that in 2008, the Defendant asked her to pick up cocaine from
          Marcus Black and bring it back to Pharaoh’s, where she used that cocaine with
          the Defendant. Id. at 8:14–10:17. A.P. testified that the Defendant provided
          cocaine to her and others, which they used in the upstairs area and “general
          area.” Id. at 27:20–28:23. A.P. testified that she observed dancers smoking
          marijuana and using cocaine, as well as observed dancers leaving the bathroom
          who looked like they had just used heroin. Id. at 5:8–7:8. A.P. testified that she
          sold drugs to dancers, employees, customers, and the Defendant at Pharaoh’s.
          Id. at 14:11–19. A.P. also testified that Jessica Leyland (“Charm”) and Marcus
          Black sold drugs to employees, dancers, and customers inside Pharaoh’s. Id. at
          23:19–24:3; 27:6–19. A.P. testified that the Defendant provided her with a
          private dressing room inside of Pharaoh’s where she stored cocaine. Id. at 26:8–
          27:5.

    •     P.H. intermittently worked at Pharaoh’s from 2008 to 2020. Trial Tr. P.H.,
          14:8–14, November 14, 2014. P.H. testified that during the time she worked at
          Pharaoh’s, she saw girls smoking marijuana and using cocaine, as well as
          observed dancers in the dressing room slumped over, who looked like they used
          heroin or opiates. Id. at 14:23–15:6. She also testified that she observed cocaine
          used in the dressing room, “hallway-type thing off of the bar,” upstairs office,
          and VIP area. Id. at 16:6–16; Trial Tr. P.H., 202:15–204:14, November 18,
          2024. P.H. also testified that the first time she was in the upstairs office, she
          saw the Defendant, dancers, and some of his friends drinking champagne and
          a plate of cocaine being passed around to use. Trial Tr. P.H., 18:23–19:3; 22:2–
          13, November 14, 2024. P.H. further testified that the Defendant regularly
          provided cocaine for them to use in the upstairs office. Id. at 24:2–10. P.H.
          testified that she regularly saw the Defendant’s close friend, Jessica Leyland
          (“Charm”), sell cocaine to the Defendant, dancers, and customers at
          Pharaoh’s. Id. at 25:5–26:7.

    •     K.L. worked at Pharaoh’s from approximately March 2009 until August 2009.
          Trial Tr. K.L., 62:24–63:4, December 9, 2024. K.L. testified that she used drugs


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          at Pharaoh’s and that she could get cocaine or drugs from the Defendant, and
          other Pharaoh’s employees including, Jessica (“Charm”), A.P., PJ, and
          Marcus Black. Id. at 23:12–25:1. K.L. also testified that she was able to get
          cocaine from anywhere in Pharaoh’s such as the dressing room and bar, and
          specifically that the Defendant provided her cocaine in the upstairs area. Id. at
          25:16–26:8. K.L. testified that based on her observations, 99% of the dancers
          who worked at Pharaoh’s were using drugs while they worked. Id. at 26:21–
          27:2. K.L. testified that the first time she went upstairs with the Defendant, the
          Defendant provided her, G.R., and N.A. cocaine for them to use before going
          out to a bar. Id. at 32:17–35:7. K.L. also testified that the Defendant gave her
          Lortabs in both the upstairs area and the downstairs office. Id. at 43:4–9.

    •     C.B. started working at Pharaoh’s in 2010 or 2011; first as a cocktail waitress
          for six months and then as a night manager for three years. Trial Tr. C.B., 4:7–
          10; 7:19–8:2; 114:24–25, November 14, 2024. She testified that she observed
          dancers use cocaine, heroin and fentanyl patches. Id. at 11:5–11:14; 14:1–5; see
          also id. at 26:23–28:18 (describing how dancers would use cocaine on tables in
          the dressing rooms); id. at 29:20–30:10 (describing how dancers were heating
          up the fentanyl patch residue on foil in the private bathroom of the dressing
          room); id. at 32:24–33:19 (explaining that she would see dancers intoxicated by
          opiates on the open floor area of Pharaoh’s).

    •     A.A./PW7 worked as a dancer at Pharaoh’s for approximately a year, starting
          in 2011 or 2012. Trial Tr. A.A./PW7, 83:6–16, November 19, 2024.
          A.A./PW7 testified that she was physically addicted to opiates and would need
          to use them to get through her shift. Id. at 18:9–20. She testified that when she
          worked at Pharaoh’s, she regularly used pills and would smoke fentanyl in the
          bathrooms. Id. at 18:21–19:23. A.A./PW7 also testified that she used cocaine
          in the bathrooms or in the locker room/dressing room. Id. at 20:3–15.
          A.A./PW7 testified that she observed dancers, such as L.L. and “Cherry,” use
          cocaine and she observed D.P. (“Kiera”) use heroin in the bathroom. Id. at
          22:14–23:19; see also id. at 29:15–17 (“Q: Where in the club did you observe
          cocaine use? A: That I, like, vividly remember? Would be in, like, the dressing
          room. The locker, yeah, dressing room.”); id. at 69:19–70:1 (“Q: Did you feel
          like you had to hide using cocaine in the dressing room? A: No, not as much.
          Q: Did you get cocaine at Pharaoh’s while you worked there? A: I believe so,
          yes. Q: Would you be able to acquire cocaine from other dancers who worked
          at Pharaoh’s? A: Yes, I could.”); id. at 70:8–70:17 (testifying that dancers would
          smoke marijuana in the front of Pharaoh’s in an open and obvious manner).
          A.A./PW7 testified that she was under the impression that she and others
          could get cocaine from a bartender known as “Charm.” Id. at 72:20–73:19.




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    •     K.A. worked as a dancer at Pharaoh’s for approximately two years, starting in
          or around 2012 and 2013. Trial Tr. K.A., 10:21–11:10, November 18, 2024.
          K.A. testified that when she worked at Pharaoh’s, she was addicted to opiates
          and that she would use heroin and cocaine in the bathrooms during her shifts.
          Id. at 13:7–14:18. K.A. also testified that another dancer known as “Cherry”
          gave her drugs at Pharaoh’s. Id. at 23:14–24.

    •     A.A./PW8 worked as a dancer at Pharaoh’s from 2012 to 2018. Trial Tr.
          A.A./PW8, 5:8–10; 6:16–22, November 20, 2024. A.A./PW8 testified that
          within the first year of her employment as a dancer, the Defendant invited her
          to the upstairs area of Pharaoh’s and put a bump of cocaine on a card up to her
          nose and told her to sniff it. Id. at 11:20–14:7; 26:5–8. A.A./PW8 testified that
          this was the first time she had used cocaine. Id. at 11:8–9. A.A./PW8 testified
          that after the Defendant put that first bump of cocaine up to her nose, she
          started using it more regularly. Id. at 25:3–6. A.A./PW8 testified that the
          Defendant provided her with cocaine for nearly the entire duration of her
          employment at Pharaoh’s. Id. at 26:9–14. A.A./PW8 also testified that she
          received cocaine and Adderall from Marcus Black and that she observed
          Marcus Black give cocaine to the Defendant and some patrons at the bar and
          “on the side of the kitchen” inside Pharaoh’s. Id. at 17:3–19:8; 26:15–24.
          A.A./PW8 also described that on five or six occasions, at the Defendant’s
          direction, she went to Marcus at the bar to get cocaine for the Defendant’s
          friends. Id. at 33:4–34:19. Marcus would then get cocaine from the bathroom
          and give it to A.A./PW8 to give to the Defendant’s friends, and in exchange,
          Marcus would give her cocaine for herself. Id. at 29:12–33:3. A.A./PW8
          testified that she observed Jessica Leyland (“Charm”) repeatedly distribute
          cocaine to the Defendant in the hallway by the kitchen at Pharaoh’s. Id. at
          21:14–21:25; 24:12–25:2. Additionally, A.A./PW8 testified that she observed
          other dancers frequently use cocaine and heroin. Id. at 27:7–16.

    •     L.L. worked as a dancer at Pharaoh’s from 2013 to 2018. Trial Tr. L.L., 14:3–
          25, December 13, 2024; Trial Tr. L.L., 201:17–202:16, December 16, 2024.
          L.L. testified that she became addicted to cocaine and heroin at Pharaoh’s and
          had used those drugs “too many [times] to count” inside Pharaoh’s. Trial Tr.
          L.L., 15:1–12, December 13, 2024; see also id. at 39:18–25 (testifying that
          another dancer D.P. “Kiera” had provided her heroin within a couple days
          after she started working at Pharaoh’s). L.L. further testified that she used drugs
          with some of the other dancers and saw them use drugs in the “[l]ocker room,
          locker bathroom, other bathroom that’s on the main floor, in the VIP Room,
          right at the bar, and upstairs and downstairs office.” Trial Tr. L.L., 20:14–23,
          December 16, 2024. She testified that she observed the Defendant, dancers, DJ,
          bartenders, and managers use and distribute drugs in those same areas inside



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             the club. Id. at 22:8–17; see also id. at 34:1–8 (L.L. testifying that she used
             cocaine with Megan Stabler “at various places in the club”). L.L. further
             testified that she was able to get cocaine at Pharaoh’s, from customers,
             “Scooter,” “Bobby Black,” “Cherry,” “Larry,” “Charm,” the Defendant’s
             brother David, and a liquor distributer “Aaron.” Id. at 45:21–47:2; 52:14–
             53:17. Additionally, L.L. testified that she also used cocaine with the
             Defendant in the downstairs office. Id. at 78:9–14.

      •      E.H. worked at Pharaoh’s for three months, starting in October 2014. Trial Tr.
             E.H., 8:19–23, November 18, 2024. E.H. testified that she witnessed a dancer
             in the upstairs area of Pharaoh’s chopping up and sniffing lines of cocaine,
             while the Defendant was present. Id. at 18:6–9; 19:17–24. She testified that the
             Defendant stated to her “I help the girls if they need to work, and I can get you
             some [cocaine] too.” Id. at 19:25–20:15.

      •      R.W. worked at Pharaoh’s for one month, around August 2012 and again
             around August 2019. Trial Tr. R.W., 9:8–10; 25:20–26:4, November 19, 2024.
             R.W. testified that during the first time she worked at Pharaoh’s, around
             August 2012, she had seen dancers, bartenders, and shot girls smoking
             marijuana and crack cocaine, in the back smoking area. Id. at 10:24–13:16.
             R.W. testified that she also observed dancers use cocaine in the dressing room.
             Id. at 24:20–23. Additionally, R.W. testified that she believes she saw one
             customer take a bump of cocaine by the stage. Id. at 15:25–16:17. R.W. testified
             that one night a DJ offered her cocaine when she was nervous before going on
             stage. Id. at 25:6–19. R.W. testified that around August 2019, the second time
             she worked at Pharaoh’s, women were using fentanyl intravenously, and she
             saw used needles in the dancers’ bathroom. Id. at 26:5–28:8. R.W. also testified
             that Marcus Black advertised to her and another dancer that he could get them
             drugs, including cocaine. Id. at 35:16–37:15.

      •      A.B. worked at Pharaoh’s in September 2019. Trial Tr. A.B., 10:12–17,
             November 13, 2024. A.B. testified that the Defendant gave K.C. cocaine that
             she and K.C. then used in the bathroom of the women’s dressing room at
             Pharaoh’s. Id. at 21:25–22:25. A.B. described when the Defendant first invited
             her upstairs, he provided them cocaine that they used. Id. at 27:12–32:9. After
             this first time, the Defendant became her primary supplier of cocaine at
             Pharaoh’s. Id. at 65:5–11.


      8.     Because many dancers were addicted to drugs, the Defendant exploited their

desperation and coerced the dancers to engage in commercial sex acts at 999 Aero Drive.



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Collectively, the testimony of the dancers and one former employee indicated that dancers

kissed and grinded on men until they ejaculated, were fondled and fingered, provided hand

jobs, and engaged in oral, vaginal, and anal sex in the Pharaoh’s VIP Room and Champagne

Room:


        •    A.A./PW7 described her experience with a customer, Wayne Van Vleet,
             explaining that he “put his hands everywhere,” held her down on him, touched
             her vagina, and attempted to rub her bare vagina in the VIP Room. Trial Tr.
             A.A./PW7, 38:11–21, November 19, 2024. She testified that while in the VIP
             Room, Wayne Van Vleet held her against his lap and forced her against his
             body until he ejaculated, and the person who was watching the camera did not
             stop him. Id. at 42:6–43:2. A.A./PW7 testified that she felt like she did not have
             a choice, and had to endure Wayne Van Vleet’s conduct because she was
             addicted to drugs and would do anything for money and drugs. Id. at 45:11–
             46:10. A.A./PW7 also testified that one time in the VIP area, a customer
             inserted his fingers inside of her vagina and she asked that customer to stop. Id.
             at 77:16–78:2. She turned back to look at the camera for help, but the VIP
             attendant did not stop him. Id. at 78:3–18. Additionally, A.A./PW7 testified
             that when she worked at Pharaoh’s, she began spending up to $900 a day on
             drugs, desperate to avoid withdrawal symptoms. Id. at 21:13–22:10; 112:15–
             113:11. She also testified that she felt like she was controlled by her addiction
             and had no choice to stop a dance; if she chose to stop the dance, she would
             lose the ability to get more money from the customer and get in trouble by
             management. Id. at 113:12–114:19.

        •    K.A. testified she engaged in many backroom dances with Wayne Van Vleet
             in the VIP Room at Pharaoh’s, and that he liked to pull hair, tried to insert his
             fingers in her vagina, and forced her body down against his erect penis until he
             ejaculated. See GX 558 (photograph of Wayne Van Vleet); Trial Tr. K.A.,
             22:16–25:25, November 19, 2024. K.A. stated that she would not have engaged
             in that conduct in the VIP room if she was not addicted to heroin. Id. at 27:17–
             24; see also id. at 65:22–66:22 (“. . . Q: Okay. Would you choose to go in the
             VIP Room and engage in that conduct with [Wayne Van Vleet] today? A: No.
             Q: Why not? A. Because I’m not a drug addict anymore. . . .Q. . . . was that a
             choice that you made because you needed money to buy drugs? A. Yes. . . .).

        •    L.L. testified that while working at Pharaoh’s she began engaging in
             commercial sex acts for drugs and money because of her addiction to drugs.
             Trial Tr. L.L., 15:18–16:9, December 13, 2024. She also testified that


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          throughout her time working at Pharaoh’s, she engaged in 500 sex acts with
          500 men in the VIP Area and 200 sex acts with 200 men in the Champagne
          Room. Trial Tr. L.L., 22:24–23:25, December 16, 2024. L.L. testified that she
          saw other dancers engaged in similar activities, saw condoms in the VIP area,
          and heard dancers ask for baby wipes. Id. at 24:4–22. Specifically, L.L. testified
          that the Defendant encouraged her to go into the Champagne Room with
          Wayne Van Vleet where he fingered her, pulled her hair, and ejaculated in his
          pants. Id. at 70:18–73:13. She stated she would not have done that, had she not
          been heavily addicted to heroin and cocaine. Id. at 76:3–8; see id. at 75:25–76:2
          (testifying that she did not think taking Wayne Van Vleet in the VIP area was
          optional). Similarly, L.L. testified that she engaged in sexual acts with Jim
          Casey, including having a threesome with A.A./PW7, in the Champagne
          Room. Id. at 121:6–122:2. L.L. specifically described that during a time when
          she was using drugs every day, she engaged in commercial sex acts with Joseph
          Barsuk and “Dave” in the downstairs VIP area. Id. at 125:5–127:5.

    •     G.R. testified that she observed another dancer having sex in the Champagne
          Room, while she was with another customer who masturbated and ejaculated
          during a lap dance. Trial Tr. G.R., 54:3–56:9, November 13, 2024.

    •     K.L. testified that in the summer of 2009, she observed customers fondling
          dancers’ breast and touching the dancers’ vagina-area, in the VIP room. Trial
          Tr. K.L., 67:8–20, December 9, 2024.

    •     C.B. testified that while working at Pharaoh’s, she observed a customer with
          his pants down, a dancer providing a hand job, heavy grinding, skin-to-skin
          contact with dancers’ thongs pulled aside, and breast fondling, during VIP
          dances. Trial Tr. C.B., 40:20–42:18, November 14, 2024. C.B. also testified that
          she was aware that oral sex occurred. Id. at 102:1; 102:21.

    •     A.A./PW8 testified that after seeing the Defendant bring dancers into the
          upstairs area, she saw those dancers come downstairs and heard them ask for
          baby wipes. Trial Tr. A.A./PW8, 16:20–17:2, November 20, 2024.

    •     E.H. testified that she was instructed to take $20 from the customer, give it to
          the security guard, and grind on the customer until he ejaculates. Trial Tr. E.H.,
          27:20–28:11, November 18, 2024. She also described one occasion when a male
          patron exposed himself and ejaculated on her. Id. at 28:12–29:1. She also stated
          that she saw condoms in the VIP area. Id. at 30:17–31:2.




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       •      A.B. testified that she has seen other dancers, she named “Peter’s Favorites,”
              engage in sex acts (male customers would finger the dancers and lick their
              nipples) in the VIP Room. Trial Tr. A.B., 44:4–46:2, November 13, 2024.


       9.     Additionally, G.R., K.L., and L.L. testified that they felt coerced to perform

sex acts with the Defendant and/or men who had a close relationship with the Defendant, in

the upstairs area of 999 Aero Drive:


       •      G.R. testified that in 2009, when she was addicted to drugs, the Defendant
              invited her upstairs to “party,” gave her cocaine, asked her to “take care” of his
              friend, and in exchange, he would take care of her. Trial Tr. G.R., 41:23–46:22,
              November 13, 2024. She testified that while high on cocaine, she had sex with
              the Defendant’s friend in the upstairs bathroom, and then the Defendant
              handed her $200, that she suspected she used to buy more cocaine. Id. at 46:10–
              47:1.

       •      K.L. testified that the Defendant told her that he gave G.R. money to have sex
              with one of the Defendant’s friends in the upstairs area at Pharaoh’s. Trial Tr.
              K.L., 58:1–24, December 9, 2024. Additionally, K.L. testified that in 2009,
              when she was a frequent cocaine user, she and the Defendant went upstairs,
              and he gave her cocaine to use. Id. at 35:10–38:24. He then put porn on the TV
              and pulled his pants down. Id. at 38:25–39:3. She performed oral sex and had
              vaginal sex with him because she felt like she had to. Id. at 40:9–40:20; see also
              id. at 40:25–41:2 (stating that she engaged in sexual encounters with the
              Defendant upstairs at least ten to fifteen times). She also testified that there were
              other occasions where she would ask him for Lortabs during her withdrawals,
              which he provided to her, on the condition that she engage in a sexual act with
              him. Id. at 44:8–45:17.

       •      In summary, L.L stated that every time she was in the upstairs area of
              Pharaoh’s, she engaged in sex acts with the Defendant and men with a close
              relationship to the Defendant in exchange for money and drugs. See Trial Tr.
              L.L., 37:6–38:19; 39:13–15, December 16, 2024; id. at 93:11–96:16 (testifying
              that she had sex with the Defendant after he gave her drugs because she did not
              feel like she could deny him; he was in control of different aspects of her job at
              Pharaoh’s that would change how much money she earned); id. at 97:3–98:20
              (describing that the Defendant brought L.L. and other dancers to the upstairs
              area, provided them drugs, and had them perform sexual acts, including
              threesomes, vaginal, oral, and anal intercourse with him); id. at 110:1–111:12



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              (describing the occasions when the Defendant’s brother David offered her
              cocaine to go upstairs, and they engaged in anal and/or vaginal sex); id. at
              112:3–113:25 (describing that she would have oral, anal, or vaginal sex with
              Aaron in the upstairs area, in exchange for cocaine and heroin so she could
              avoid withdrawal symptoms); id. at 115:1–121:2 (describing having sex with
              Rob Reed for money and drugs in the upstairs area and stating she would not
              have done so had she not been addicted to drugs).


                                      LEGAL ANALYSIS

Forfeiture Procedure Pursuant to Rule 32.2


       10.    Rule 32.2 of the Federal Rules of Criminal Procedure governs the criminal

forfeiture sought by the government in this case. In order to seek forfeiture of property, the

government must first provide notice to the Defendant of the government’s intention to seek

forfeiture in the indictment. Fed.R.Crim.P. 32.2(a). Second, the Court must, as soon as

practical following a finding of guilt on any substantive charges, determine if the property in

question is subject to forfeiture, and if so, enter a preliminary order of forfeiture.

Fed.R.Crim.P. 32.2(b)(1)-(2). Third, the Court must make the order of forfeiture part of the

Defendant’s sentence and include it in the judgment. Fed.R.Crim.P. 32.2(b)(4).


       A. The Second Superseding Indictment contained Forfeiture Allegations that
          notified the Defendant of the government’s intention to seek the forfeiture of 999
          Aero Drive


       11.    As a threshold requirement, “[a] court must not enter a judgment of forfeiture

in a criminal proceeding unless the indictment or information contains notice to the defendant

that the government will seek the forfeiture of property as part of any sentence in accordance

with the applicable statute.” Fed.R.Crim.P. 32.2(a); United States v. Annabi, 746 F.3d 83, 86




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(2d Cir. 2014) (held that forfeiture must be limited to that authorized by the statute cited as

the basis for forfeiture, and of which the defendant had notice).


       12.     As indicated above, the government provided notice to the Defendant in the

Second Superseding Indictment within the sections titled “Third Forfeiture Allegation” and

“Fourth Forfeiture Allegation,” that upon his conviction of the Drug Offenses and the Sex

Trafficking Offense, the United States would seek to forfeit 999 Aero Drive pursuant to Title

21, United States Code, Sections 853(a)(1), 853(a)(2) and 853(p), and Title 18, United States

Code, Sections 1594(d)(1) and 1594(d)(2) and Title 21, United States Code, Section 853(p),

respectively. Second Superseding Indictment, ECF 89, p. 42–45. Now that the Defendant has

been convicted of the Drug Offenses and the Sex Trafficking Offense and the Second

Superseding Indictment contained notice to the Defendant, the Court may enter a judgment

of forfeiture as part of the Defendant’s sentence. As such, the government moves the Court

to determine that 999 Aero Drive is subject to forfeiture pursuant to the applicable forfeiture

statutes, Title 21, United States Code, Section 853(a)(2), Title 18, United States Code, Section

1594(d)(1), and Rule 32.2(b) of the Federal Rules of Criminal Procedure.


       B. The Court should determine that 999 Aero Drive is subject to forfeiture and enter
          a preliminary order of forfeiture directing the forfeiture of 999 Aero Drive


       13.     Now that the jury convicted the Defendant on counts for which criminal

forfeiture is sought, Rule 32.2(b)(1) requires this Court to determine the forfeiture of property.

Rule 32.2(b)(1) provides in relevant part:




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             (b) Entering a Preliminary Order of Forfeiture
             (1) Forfeiture Phase of Trial
                 (A) Forfeiture Determinations. As soon as practical after a
                     verdict . . . of guilty, . . . on any count in an indictment or
                     information regarding which criminal forfeiture is sought, the
                     court must determine what property is subject to forfeiture
                     under the applicable statute. If the government seeks
                     forfeiture of specific property, the court must determine
                     whether the government has established the requisite nexus
                     between the property and the offense. . . .

                 (B) Evidence and Hearing. The court’s determination may be based
                     on evidence already in the record, . . . and on any additional
                     evidence or information submitted by the parties and
                     accepted by the court as relevant and reliable. . . .


       14.       As stated above, since the government is seeking the forfeiture of specific

property, 999 Aero Drive, the Court must determine whether the government has established

the “requisite nexus” between 999 Aero Drive and the Drug Offenses and the Sex Trafficking

Offense. Fed.R.Crim.P. 32.2(b)(1)(A). To establish the requisite nexus, the government is

required to discern that the forfeiture standard set forth in the applicable statutes exists

between 999 Aero Drive and the Drug Offenses and the Sex Trafficking Offense. United States

v. Capoccia, 503 F.3d 103, 116 (2d Cir. 2007) (violation on which forfeiture is based must be

specific violations of which the defendant was convicted; not some other violation); United

States v. Messino, 382 F.3d 704, 714 (7th Cir. 2004) (must be a connection between property

subject to forfeiture and the underlying criminal activity “on which the conviction rests”).

United States v. Anghaie, No. 1:09CR37–SPM, 2011 WL 2671242 *1 (N.D. Fla. July 7, 2011)

(acknowledging that there is no general purpose statute authorizing forfeiture; forfeiture

standards for various separate offenses are set forth in appropriate and applicable forfeiture

statutes).




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       15.    The government bears the burden of establishing that 999 Aero Drive is subject

to forfeiture only by a preponderance of the evidence. United States v. Daugerdas, 837 F.3d 212,

231 (2d Cir. 2016) (“For a criminal forfeiture order to pass muster, the government must

establish, by a preponderance of the evidence, the ‘requisite nexus between the property and

the offense.’”) (quoting Fed. R. Crim. P. 32.2(b)(1)(A)); United States v. Peters, 732 F.3d 93,

98 (2d Cir. 2013) (preponderance standard applies to criminal forfeiture); United States v.

Bellomo, 176 F.3d 580, 595 (2d Cir. 1999) (“It follows as a matter of logic that, absent any

indication to the contrary in the statutory text, criminal forfeiture . . . depends on the

preponderance of the evidence.”); United States v. Sabhnani, 566 F.Supp.2d 148, 150–51

(E.D.N.Y. 2008), aff'd, 599 F.3d 215 (2d Cir. 2010) (“It is well settled in the Second Circuit

that once the defendant is convicted of an offense on proof beyond a reasonable doubt, the

government is only required to establish the forfeitability of the property subject to criminal

forfeiture as a result of that offense by a preponderance of the evidence.”).


       16.    Rule 32.2(b)(1)(B) states that the evidence to prove that 999 Aero Drive is

subject to forfeiture may be “evidence already in the record,” or any additional evidence

accepted by the Court as “relevant and reliable.” Fed.R.Crim.P 32.2(b)(1)(B). Because

forfeiture is a part of the sentence imposed, the Federal Rules of Evidence are inapplicable.

See Libretti v. United States, 516 U.S. 29, 38–41 (1995); Fed.R.Evid. 1101(d)(3). Thus,

additional evidence that would otherwise not be admissible in a proceeding governed by the

Federal Rules of Evidence, may be relied upon when considering whether the government

has established the requisite nexus between the property and the convicted offenses. United

States v. Jafari, 85 F. Supp. 3d 679, 684–85 (W.D.N.Y. 2015) (“[C]ourts may consider hearsay




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and other inadmissible evidence so long as it is sufficiently reliable.” (citing Fed.R.Evid.

1101(d)(3)).


      i. Forfeiture of facilitating property used in the Defendant’s violations of the
         Drug Offenses and the Sex Trafficking Offense is mandatory


       17.     Title 21, United States Code, Section 853(a)(2) provides that “[a]ny person

convicted of [violations of Title 21, United States Code, Sections 846 and 856(a)(1)] shall

forfeit to the United States, irrespective of any provision of State law -- . . . any of the person’s

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of such violation[s].” (emphasis added). See United States v. Monsanto, 491 U.S.

600, 607 (1989) (finding the use of “shall” in Title 21, United States Code, Section 853(a)

rendered forfeiture mandatory under that statute and observing that “Congress could not have

chosen stronger words to express its intent that forfeiture be mandatory . . .”).


       18.     Similarly, Title 18, United States Code, Section 1594(d)(1) provides that “[t]he

court, in imposing sentence on any person convicted of a violation of [Title 18, United States

Code, Section 1594(c)], shall order, in addition to any other sentence imposed and irrespective

of any provision of State law, that such person shall forfeit to the United States—(1) such

person’s interest in any property, real or personal, that was involved in, used, or intended to

be used to commit or to facilitate the commission of such violation, and any property traceable

to such property.” (emphasis added).


       19.     To state it concisely, both forfeiture statutes, Section 853(a)(2) and Section

1594(d)(1), require the forfeiture of facilitating property. Title 21, United States Code, Section

853(a)(2); Title 18, United States Code, Section 1594(d)(1). Facilitating property is any



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property that makes the crime easier to commit or harder to detect, in any substantial way.

United States v. Schlesinger, 396 F. Supp. 2d 267, 271 (E.D.N.Y. 2005) (“‘Facilitation occurs

when the property makes the prohibited conduct less difficult or more or less free from

obstruction or hindrance,’” quoting United States v. Wyly, 193 F.3d 289, 302 (5th Cir. 1999)).

Facilitating property need not be indispensable to the commission of the convicted offenses

and need not be used exclusively for illegal conduct to be facilitating property. United States

v. Sabhnani, 599 F.3d 215, 261–62 (2d Cir. 2010). Therefore, all that is necessary is that the

government prove that 999 Aero Drive was used “in any manner or part” to commit or to

facilitate the commission of the convicted offenses. Id. If a portion of 999 Aero Drive was

used in any way to facilitate the convicted offenses, then the entire property is forfeitable. Id.

(affirming the forfeiture of a whole house where the defendant used the office in house to

facilitate criminal conduct; the office was part of the house, not detached, not separately

owned).


                The Court should find that the requisite nexus exists between
             999 Aero Drive and the Defendant’s conviction of the Drug Offenses


       20.      Here, the Court should find that the requisite nexus exists between 999 Aero

Drive and the Drug Offenses. Specifically, the Court should find that 999 Aero Drive was

property used, in any manner or part, to commit, or to facilitate the commission of the Drug

Offenses. Title 21, United States Code, Section 853(a)(2). The jury convicted the Defendant

of the Drug Offenses, of which 999 Aero Drive was the subject drug-involved premises.

Therefore, by necessity, the jury has already found that the requisite nexus exists between 999

Aero Drive and the Drug Offenses. By finding the Defendant guilty of maintaining a drug-

involved premises for the purpose of distributing and using drugs, the jury has also found,



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beyond a reasonable doubt, that 999 Aero Drive was property used, in any manner or part,

in the commission of such violations. As such, the Court should find that 999 Aero Drive is

subject to forfeiture pursuant to Title 21, United States Code, Section 853(a)(2). See United

States v. Boston, No. 11–CR–107 DLI, 2011 WL 4101109 *1 (E.D.N.Y. Aug. 16, 2011)

(holding that by finding defendant guilty of felon in possession of firearm, jury necessarily

must have found that defendant illegally possessed the firearm subject to forfeiture, which

automatically makes the forfeiture of the firearm mandatory); United States v. Grayson

Enterprises, Inc., 950 F.3d 386, 409 (7th Cir. 2020) (a guilty verdict at trial necessarily included

a finding that a building (warehouse) used to shield, harbor or conceal, facilitated the offense;

the court may enter an order forfeiting the warehouse without asking the government for a

proposed order).


             The Court should find that the requisite nexus exists between
      999 Aero Drive and the Defendant’s conviction of the Sex Trafficking Offense


       21.     Additionally, the Court should find that the requisite nexus exists between 999

Aero Drive and the Sex Trafficking Offense. Namely, that 999 Aero Drive was property

involved in or used to commit or to facilitate the commission of the Sex Trafficking Offense.

Title 18, United States Code, Section 1594(d)(1). As described by the former Pharaoh’s

dancers’ and employees’ testimonies, 999 Aero Drive provided the Defendant a location to

carry out the conspiracy to sex traffic the dancers by means that preyed upon the power

imbalance and exploited the dancers’ vulnerabilities by coercing them to perform sex acts in

exchange for money and drugs. See supra ¶¶ 8–9. Some of the former Pharaoh’s dancers’

testimonies indicated that they were encouraged or expressly told to provide commercial sex

acts to customers in the VIP area and/or the Champagne Room. See supra ¶ 8. Some of the



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former Pharaoh’s dancers testified that because they feared withdrawal symptoms or the

potential loss of income, they engaged in sexual acts with the Defendant or the Defendant’s

friends in the upstairs area that the Defendant controlled. See supra ¶ 9. For more than ten

years, these areas within 999 Aero Drive made the commercial sex acts easier to commit and

harder to detect thereby establishing that the property more than incidentally facilitated the

Defendant’s conspiracy to commit sex trafficking. The requirement that 999 Aero Drive is

substantially connected to the Sex Trafficking Offense is easily satisfied based upon the

testimonies of the dancers that commercial sex acts were frequently happening in the VIP

area, Champagne Room, and the upstairs portion of 999 Aero Drive for the duration of the

conspiracy. As such, the Court should find that 999 Aero Drive is subject to forfeiture

pursuant to Title 18, United States Code, Section 1594(d)(1).


             ii. The Court should promptly enter the Preliminary Order of Forfeiture without
                 regard to any third-party interests


       22.      Once the Court determines that property is subject to forfeiture, Rule 32.2(b)(2)

directs the Court to “promptly” enter a preliminary order of forfeiture, “sufficiently in

advance of sentencing.” Specifically, Rule 32.2(b)(2) states:


                (2) Preliminary Order
                (A) Contents of a Specific Order. If the court finds that property is
                    subject to forfeiture, it must promptly enter a preliminary
                    order of forfeiture . . . directing the forfeiture of specific
                    property . . . . The court must enter the order without regard
                    to any third party’s interest in the property. Determining
                    whether a third party has such an interest must be deferred
                    until any third party files a claim in an ancillary proceeding
                    under Rule 32.2(c).
                (B) Timing. Unless doing so is impractical, the court must enter
                    the preliminary order sufficiently in advance of sentencing
                    to allow the parties to suggest revisions or modifications


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                   before the order becomes final as to the defendant under
                   Rule 32.2(b)(4).


See generally McIntosh v. United States, 601 U.S. 330, 342–45 (2024) (holding that Rule

32.2(b)(2)(B) is a time-related directive, and thereby affirming the Second Circuit holding that

the entry of a preliminary order after sentencing is not invalid when the district court ordered

forfeiture at sentencing); United States v. Kaufman, No. 21-2589, 2023 WL 1871669, *6 (2d Cir.

Feb. 10, 2023) (entry of the “preliminary order of forfeiture during, rather than ‘in advance

of,’ sentencing” did not invalidate the order).


       23.    Additionally, Rule 32.2(b)(2)(A) requires the Court to disregard any third

party’s interests. Ownership becomes a question for the Court alone to determine in the

ancillary proceeding, and therefore should not be considered prior to the entry of a

preliminary order of forfeiture. United States v. Gaskin, No. 00-CR-06148, 2002 WL 459005,

*9 n.4 (W.D.N.Y. Jan. 8, 2002); De Almeida v. United States, 459 F.3d 377, 381 (2d Cir. 2006)

(“[C]riminal forfeiture is not a measure restricted to property owned by the criminal

defendant . . . .”); United States v. Nicolo, 597 F. Supp.2d 342, 346 (W.D.N.Y. 2009) (in the

forfeiture phase of the trial, the court “is not to consider potentially thorny issues concerning

third party ownership of property sought to be forfeited;” if the Government establishes the

required nexus to the offense, the property must be forfeited).


       24.    Similarly, a defendant cannot object to the entry of a preliminary order of

forfeiture by claiming that the property belongs to someone other than the defendant. United

States v. Schlesinger, 396 F. Supp. 2d 267, 273 (E.D.N.Y. 2005) (the extent of defendant’s

interest in the property and any other party’s interest is decided in the ancillary proceeding,

not when the court is deciding whether to issue a preliminary order of forfeiture); United States


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v. Feger, No. 10–CR–346S, 2012 WL 1040181, *6 (W.D.N.Y. Mar. 28, 2012) (overruling

defendant’s objection that a firearm should not be forfeited because it belonged to his brother;

under Rule 32.2(b)(2)(A), the court must enter a preliminary order of forfeiture without regard

to ownership; the brother may file a claim in the ancillary proceeding).


       25.    At the Oral Argument on Motion for Appointment of Counsel held on

December 26, 2024, the Defendant stated that his mother owns 999 Aero Drive. See Oral Arg.

on Mot. for Appointment of Counsel Tr. 19:16–19, December 26, 2024. For the reasons set

forth previously, the Court should determine 999 Aero Drive is subject to forfeiture and

promptly enter a preliminary order of forfeiture without regard to his mother’s interests,

pursuant to Rule 32.2(b)(2)(A), Title 21, United States Code, Section 853(a)(2), and Title 18,

United States Code, Section 1594(d)(1).


                                        CONCLUSION

       WHEREFORE, the United States respectfully requests that this Court determine that

999 Aero Drive is property that was used to commit or facilitate the Defendant’s violations

of Title 21, United States Code, Section 856(a)(1) (Maintaining a Drug-Involved Premises),

Title 21, United States Code, Section 846 (Conspiracy to Distribute Controlled Substances

and Maintain Drug-Involved Premises), and Title 18, United States Code, Section 1594(c)

(Conspiracy to Commit Sex Trafficking) and therefore enter the proposed Preliminary Order

of Forfeiture forfeiting 999 Aero Drive, pursuant to Federal Rule of Criminal Procedure




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32.2(b), Title 21, United States Code, Section 853(a)(2), and Title 18, United States Code,

Section 1594(d)(1).


Dated: May 28, 2025
       Buffalo, New York

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